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               EXHIBIT 10




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                                                              Lauren Gokbudak
                                                              29941 Morongo Pl.
                                                              Laguna Niguel, Ca 92677

                                                              February 13, 2022

Chief Judge Beryl A. Howell
United States District Court
District of Columbia
333 Constitution Avenue, N.W.
Washington, D.C. 20001

Dear Chief Judge Howell,

I met Heather over a decade ago in my early twenties and we bonded over Economics.
She’s a year younger than me, but she’s always been someone I’ve looked up to. I’ve
always admired her intellect and trustworthiness. I knew early on she was the type of
friend who’d be there for her loved ones in any situation.

While it’s been years since we have lived in the same city, Heather has nurtured our
relationship throughout that time. WhatsApp, Facetime, & our semi-annual meet ups
(prior to the pandemic) have kept us close. We were just catching up Monday (2/7) and
making plans for an upcoming trip of mine to New York. During our call Heather told me
about her recent medical procedure and health issues. She sounded vulnerable which
is a side of Heather I don’t often see. I know she wouldn’t do anything to put her health
in danger as demonstrated by the extreme precautions she’s taken throughout the
pandemic.

Heather is the type of- person that both her community can rely on and relies on her
community. I am certain that she wouldn’t walk away from our friendship, as well as the
many other relationships in her life. Heather values the community of her friends &
family too much to put us at risk.

I am asking that Heather’s bail be approved. She is not a flight risk & deserves the
support of her loved ones.

Respectfully,
Lauren Gokbudak
